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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM
POWER PRODUCTS MARKETING, SALES                       No. 3:16-md-02738-MAS-RLS
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION




     DECLARATION OF JESSICA DAVIDSON IN SUPPORT OF
  DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
LLC’S OPPOSITION TO THE PLAINTIFFS’ STEERING COMMITTEE’S
 RESPONSE TO THE COURT’S APRIL 30, 2024 MEMORANDUM AND
 ORDER REGARDING JUDGE WOLFSON’S DAUBERT OPINION ON
                   GENERAL CAUSATION

I, Jessica Davidson, declare as follows:

        I am an attorney and a partner with the law firm Skadden, Arps, Slate,

Meagher & Flom LLP, counsel for Defendants Johnson & Johnson and LLT

Management, LLC (hereafter, “Defendants”) in the above-captioned matter. The

facts stated in this Declaration are true of my own personal knowledge. I submit this

Declaration in Support of Defendants’ Opposition to the Plaintiffs’ Steering

Committee’s Response to the Court’s April 30, 2024 Memorandum and Order

Regarding Judge Wolfson’s Daubert Opinion on General Causation, in the above

case.
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1.    Attached hereto as Exhibit 1 is a true and correct copy of Wentzensen &

O’Brien, Talc, Body Powder, and Ovarian Cancer: A Summary of the Epidemiologic

Evidence 163 Gynecol. Oncol. 199 (2021).

2.    Attached hereto as Exhibit 2 is a true and correct copy of O’Brien, Douching

and Genital Talc Use: Patterns of Use and Reliability of Self-Reported Exposure,

34(3) Epidemiology 376 (2023).

3.    Attached hereto as Exhibit 3 is a true and correct copy of Goodman,

Quantitative Recall Bias Analysis of the Talc and Ovarian Cancer Association, 7

Glob. Epidemiol. 1 (2024).

4.    Attached hereto as Exhibit 4 is a true and correct copy of Davis, Genital

Powder Use and Risk of Epithelial Ovarian Cancer in the Ovarian Cancer in Women

of African Ancestry Consortium, 30(9) Cancer Epidemiol. Biomarkers Prev. 1660

(2021).

5.    Attached hereto as Exhibit 5 is a true and correct copy of Chang, Use of

Personal Care Product Mixtures and Incident Hormone-Sensitive Cancers in the

Sister Study: A U.S.-Wide Prospective Cohort, 183 Environ. Int’l 1 (2024).

6.    Attached hereto as Exhibit 6 is a true and correct copy of Burke, Executive

Summary of the Ovarian Cancer Evidence Review Conference, 142(1) Obstet.

Gynecol. 179 (2023).




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7.    Attached hereto as Exhibit 7 is a true and correct copy of a Letter from Steven

M. Musser, Ph.D., Deputy Director for Scientific Operations, Center for Food Safety

& Applied Nutrition, to Samuel S. Epstein, M.D., Cancer Prevention Coalition,

University of Illinois – Chicago School of Public Health (April 1, 2014).

8.    Attached hereto as Exhibit 8 is a true and correct copy of the Declaration of

Gregory Diette, May 28, 2024, in this case.

9.    Attached hereto as Exhibit 9 is a true and correct copy of the Third Amended

Report of Rebecca Smith-Bindman, May 28, 2024, in this case.

10.   Attached hereto as Exhibit 10 is a true and correct copy of relevant excerpts

of the transcript of the deposition of Rebecca Smith-Bindman, March 20, 2024, in

this case.

11.   Attached hereto as Exhibit 11 is a true and correct copy of Micha, Talc

Powder and Ovarian Cancer: What is the Evidence?, 306 Arch. Gynecol. Obstet.

931 (2022).

12.   Attached hereto as Exhibit 12 is a true and correct copy of Lynch, Systematic

Review of the Association Between Talc and Female Reproductive Tract Cancers, 5

Frontiers in Toxicology 1 (2023).

13.   Attached hereto as Exhibit 13 is a true and correct copy of Gonzalez,

Douching, Talc Use, and Risk of Ovarian Cancer, 27(6) Epidemiology 797 (2016).




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14.   Attached hereto as Exhibit 14 is a true and correct copy of Merritt, Talcum

Powder, Chronic Pelvic Inflammation and NSAIDs in Relation to Risk of Epithelial

Ovarian Cancer, 122(1) Int’l J. Cancer 170 (2008).

15.   Attached hereto as Exhibit 15 is a true and correct copy of relevant excerpts

of the transcript of the deposition of Rebecca Smith-Bindman, October 1, 2021, in

this case.

      I certify under penalty of perjury that the foregoing is true and correct.



Dated: August 22, 2024
                                              Jessica Davidson




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